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                           5
                               Attorney for Debtors
                           6
                           7                           UNITED STATES BANKRUPTCY COURT

                           8                                     DISTRICT OF NEVADA

                           9                                              *****
                               IN RE:                                         Case No. 21-14978-abl
                          10                                                  (Chapter 11)
                          11   SILVER STATE BROADCASTING, LLC,
                                                                              Jointly Administered with:
                          12              Debtor.
                                                                                 21-14979-abl   Golden State Broadcasting, LLC
                          13       AFFECTS THIS DEBTOR                           21-14980-abl   Major Market Radio LLC

                          14      AFFECTS GOLDEN STATE BROADCASTING,          REPLY TO RECEIVER’S OPPOSITION
                                  LLC
                                                                              TO APPLICATION FOR ORDER
                          15                                                  AUTHORIZING JOINTLY
                                  AFFECTS MAJOR MARKET RADIO LLC
                          16                                                  ADMINISTERED DEBTORS TO EMPLOY
                                  AFFECTS ALL DEBTORS                         BANKRUPTCY ATTORNEYS UNDER A
                          17                                                  GENERAL RETAINER
                                                                              [HARRIS LAW PRACTICE LLC]
                          18
                          19                                          Hearing Date: January 5, 2022
                               _____________________________________/ Hearing Time: 1:30 p.m.
                          20
                          21            COME NOW, SILVER STATE BROADCASTING, LLC, GOLDEN STATE
                          22   BROADCASTING, LLC, and MAJOR MARKET RADIO LLC, Jointly Administered Debtors
                          23   and Debtors-in-Possession herein (collectively “Debtors”), by and through their attorney,
                          24   STEPHEN R. HARRIS, ESQ., of HARRIS LAW PRACTICE LLC, and respond to the
                          25   RECEIVER’S OPPOSITION TO APPLICATION FOR ORDER AUTHORING[SIC] JOINTLY
                          26   ADMINISTERED DEBTORS TO EMPLOY BANKRUPTCY ATTORNEYS UNDER A
                          27   GENERAL RETAINER [HARRIS LAW PRACTICE LLC] [DE 94] (“Opposition”), filed by
                          28   federal receiver W. Lawrence Patrick (“Receiver”).
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                           1          1. On November 19, 2021, the Debtors filed their EX PARTE APPLICATION FOR
                           2   ORDER      AUTHORIZING          JOINTLY      ADMINISTERED           DEBTORS       TO     EMPLOY
                           3   BANKRUPTCY ATTORNEYS UNDER A GENERAL RETAINER [HARRIS LAW
                           4   PRACTICE LLC] [DE 41] (“Application”).
                           5          2. The Receiver subsequently filed his Opposition on December 22, 2021. See DE 94.
                           6   Receiver’s specious Opposition is based entirely on the false premise that Harris Law Practice
                           7   LLC (“Harris Law”) “performed $48,000 of prepetition work on behalf of the Debtors for which
                           8   Harris Law has not been compensated.” See Opposition 5:26–27. This is not only untrue, but also
                           9   not supported by any of the papers filed in these cases. The Receiver simply made this up.
                          10          3. The Debtors each agreed to pay Harris Law a $20,000 advance retainer for legal
                          11   representation in these Chapter 11 cases, of which $4,000 was paid prepetition by Edward Stolz.
                          12   Edward Stolz also agreed to personally pay the remaining $16,000 advance retainer for each
                          13   Debtor from his personally-owned property. The only prepetition work performed for the Debtors
                          14   by Harris Law consisted of preparing for and filing the Chapter 11 petitions—something that is

                          15   required of all corporate debtor’s counsel because the petitions cannot prepare themselves.

                          16          4. The Receiver alleges that the “Compensation Disclosure represents that Harris Law

                          17   received $4,000 pre-petition from each Debtor for preparation of the Debtors’ Bankruptcy Cases

                          18   and lists the outstanding balance of prepetition fees as ‘unknown.’” See Opposition 1:12–14

                          19   (emphasis added). Yet that is NOT what the Compensation Disclosure states. Instead, the

                          20   Compensation Disclosure discloses that Harris Law has agreed to be compensated for its actual

                          21   fees and costs (rather than some flat fee) for “services rendered or to be rendered on behalf of the

                          22   debtor(s) in contemplation of or in connection with the bankruptcy case.” See Compensation

                          23   Disclosure DE 28 (emphasis added). The balance due for fees and costs to be rendered by Harris

                          24   Law is “unknown” because it is a future event.

                          25          5. Harris Law also correctly disclosed that it received payment of $4,000 from Edward

                          26   Stolz on behalf of each Debtor prior to the Chapter 11 filings. See id. Moreover, paragraph 5 of

                          27   the Application disclosed the advance retainer arrangement, which was also disclosed in the

                          28   detailed retainer agreements between the Debtors and Harris Law which are attached to the
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                           1   Application. See DE 41 Ex. A, B, and C.
                           2          6. Page 2 of Harris Law’s retainer agreements plainly discloses that “[i]n consideration
                           3   of our rendering these [chapter 11] legal services [Debtor] shall tender to this firm an advance
                           4   retainer of Twenty Thousand Dollars ($20,000), payable $4,000 prior to the commencement of
                           5   the case, and the additional $16,000 paid per a Letter Agreement.” See DE 41, Ex. A, B, and C at
                           6   2 (emphasis added).
                           7          7. The date of the retainer agreements is October 13, 2021, only six days before the
                           8   Chapter 11 petitions were filed on October 19, 2021. Thus, it is quite evident that the $16,000
                           9   sum referenced in the Compensation Disclosure and Question 11 of the SOFA refers to the
                          10   remaining portion of the advance retainer which Mr. Stolz agreed to pay post-petition on behalf
                          11   of the Debtors—not an outstanding balance for prepetition work as the Receiver alleges.
                          12          8. What is more, the Debtors’ Statement of Financial Affairs (“SOFA”) correctly
                          13   disclosed in Question 11 that Harris Law was paid $4,000 for each Debtor prior to the Chapter 11

                          14   filings, with Edward Stolz promising to pay an additional $16,000 for each Debtor post-petition.

                          15   See DE 28 at 15. But Question 11 of the SOFA does not say anywhere that Harris Law is owed

                          16   $16,000, or $20,000 for prepetition legal work, nor does Question 11 ask about any unpaid

                          17   balance of prepetition legal fees. The SOFA only asks about prepetition payments, which

                          18   obviously includes all prepetition retainers paid for representation of the Debtors in their Chapter

                          19   11 cases.

                          20          9. If the Receiver and his counsel are not familiar enough with bankruptcy forms to

                          21   understand the SOFA or Compensation Disclosure, then they should have asked Debtors’ counsel

                          22   to explain before filing the Opposition. Debtors’ counsel did not disclose the existence of a

                          23   $48,000 balance for prepetition legal work because none exists. Indeed, the Receiver’s Opposition

                          24   is just another example of why the Civil Action1 receivership dragged on for a year after Mr. Stolz

                          25   paid the Civil Action Judgment and why the Receiver has incurred approximately $600,000 in

                          26   fees and costs even though he did not pay the Civil Action Judgment or any other creditor.

                          27   1
                                WB Music Corp., et al. v. Royce International Broadcasting Corp., Playa Del Sol
                          28   Broadcasters, Silver State Broadcasting, LLC, Golden State Broadcasting, LLC, and Edward R.
                               Stolz, II, Case No. 5:16-cv-00600-JGB (Dist. C.D. Cal. 2016) (the “Civil Action”).
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                           1          10. Ironically, it is the Receiver’s counsel that has a disqualifying conflict in these cases.
                           2   Debtors’ principal, Edward Stolz, has advised Harris Law that Fox Rothschild LLP briefly
                           3   represented the Debtors and other defendants in the federal Civil Action. See Declaration of
                           4   Edward Stolz filed in support of this Reply. The Civil Action Defendants’ insurance carrier hired
                           5   Fox Rothschild to defend the Defendants in the Civil Action—the same Civil Action which led
                           6   to the appointment of the Receiver. Fox Rothschild obtained confidential information from the
                           7   Defendants during a period of approximately three weeks in preparing for filing the answer to the
                           8   Civil Action complaint. Just before filing the answer, Fox Rothschild suddenly declined the
                           9   representation citing a conflict of interest, thus causing the insurance company to appoint new
                          10   counsel. But when Fox Rothschild decided to represent the Receiver against its own former clients
                          11   in these Chapter 11 cases, it never sought an informed consent or waiver from any of the Civil
                          12   Action Defendants, in what appears to be a violation of several Nevada Rules of Professional
                          13   Conduct, including Rules 1.6, 1.9, and 1.10.
                          14          11. In summary, Harris Law properly disclosed its payment arrangement with the Debtors

                          15   and Edward Stolz for the Debtors’ advance retainers. Harris Law does not have any connection

                          16   with the Debtors or their creditors other than the disclosed payment arrangement with Edward

                          17   Stolz, nor does Harris Law represent any interest adverse to the estate.

                          18                                        LEGAL ARGUMENT

                          19          The Receiver alleges, without any basis, that Harris Law performed $48,000 worth of

                          20   prepetition legal services for the Debtors, and as a result, Harris Law allegedly “holds a claim

                          21   against the Debtors’ estates and is a creditor.” Opposition 5:25–28. As previously explained,

                          22   Harris Law did not provide legal services to the Debtors other than to prepare and file the Chapter

                          23   11 petitions, which every debtor’s counsel has to do. Moreover, technically speaking every

                          24   debtor’s attorney holds a claim against the debtor as soon as it starts representing the debtor

                          25   because debtor’s counsel becomes an administrative creditor. Thus, debtors could never employ

                          26   any professionals in their Chapter 11 cases if those professionals were disqualified simply for

                          27   “holding a claim against the Debtors’ estates” as the Receiver alleges.

                          28          As disclosed in the Application, SOFA, and Compensation Disclosure, Harris Law does
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                           1   have an agreement with a third party, Edward Stolz, for payment of the remaining portion of the
                           2   Debtors’ advance retainers. But payment of fees by a third party is not disqualifying under Section
                           3   327(a). Indeed, legal fees or retainers for many closely held companies are paid by principals
                           4   when those companies lack the necessary liquid assets to retain bankruptcy counsel.
                           5          A majority of courts do not find that payment by a third party is a per se rule to deem a
                           6   professional not disinterested. In re 7677 E. Berry Ave. Assocs., L.P., 419 B.R. 833, 844 (Bankr.
                           7   D. Colo. 2009) (citations omitted); In re Lotus Props. LP, 200 B.R. 388 (Bankr. C.D. Cal. 1996).
                           8   To determine disinterestedness in the context of third-party payments, courts apply a five-part test
                           9   which requires: (1) the arrangement must be fully disclosed to the debtor/client and the third party
                          10   payor/insider; (2) the debtor must expressly consent to the arrangement; (3) the third party
                          11   payor/insider must retain independent legal counsel and must understand that the attorney’s duty
                          12   of undivided loyalty is owed exclusively to the debtor/client; (4) the factual and legal relationship
                          13   between the third party payor/insider, the debtor, the respective attorneys, and their contractual
                          14   arrangement concerning the fees, must be fully disclosed to the court at the outset of the debtor’

                          15   bankruptcy representation; and (5) the debtor’s attorney/applicant must demonstrate and represent

                          16   to the court’s satisfaction the absence of facts which would otherwise create non-

                          17   disinterestedness, actual conflict, or impermissible potential for a conflict of interest. 7677 E.

                          18   Berry Ave. Assocs., 419 B.R. at 844 (citing In re Kelton, 109 B.R. 641, 658 (Bankr. D. Vt. 1989)).

                          19          Here, the payment arrangement with Mr. Stolz was disclosed to all parties as set forth in

                          20   detail in Harris Law’s Application and retainer agreements. See DE 42. Second, the Debtors also

                          21   expressly consented to the arrangement in their signed retainer agreements which are attached to

                          22   the Application as Exhibits A, B, and C. Id. Third, Mr. Stolz is personally represented by attorney

                          23   Donald Schwartz, Esq. and understands that Harris Law owes a duty of undivided loyalty

                          24   exclusively to the Debtors. Fourth, all factual and legal relationships between Harris Law and Mr.

                          25   Stolz have been disclosed in the Application. See DE 42. Lastly, there are no actual conflicts or

                          26   impermissible potentials for a conflict of interest because Mr. Stolz’s interests are aligned with

                          27   those of the Debtors to maximize the estates’ assets. The Debtors also do not have any potential

                          28   claims against Mr. Stolz because they are solvent with assets far exceeding their liabilities. Thus,
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                           1   any recovery for claims against Mr. Stolz, if any existed, would only go to the Debtors’ parent
                           2   company, Royce International Broadcasting, which in turn is owned 100% by Mr. Stolz.
                           3          Moreover, the term “actual conflict” is not defined in the Bankruptcy Code, but some
                           4   courts have concluded an actual conflict exists where there is “an active competition between two
                           5   interests, in which one interest can only be served at the expense of the other.” 7677 E. Berry
                           6   Ave. Assocs., 419 B.R. at 845 (citations omitted). Here, the Debtors’ estates do not have a
                           7   competing interest with each other or with Mr. Stolz. In fact, their interests are aligned because
                           8   they all have the same goal of retaking control of the Radio Station assets to maximize their value,
                           9   and Mr. Stolz will preserve his equity in the Debtors’ estates if they are reorganized effectively.
                          10          In summary, payment of a portion of Harris Law’s advance retainer by a third party,
                          11   Edward Stolz, does not create an actual or potential conflict or cause Harris Law to not be
                          12   disinterested.
                          13                                            CONCLUSION
                          14          Based on the foregoing, Harris Law qualifies as a disinterested party under the Code and

                          15   can be employed by the Debtors under 11 U.S.C. § 327(a). In conclusion, the Debtors respectfully

                          16   request that the Receiver’s Opposition be overruled, and the Court enter its order approving Harris

                          17   Law’s Application.

                          18          DATED this 29th day of December 2021.

                          19
                                                                                 HARRIS LAW PRACTICE LLC
                          20
                                                                                 /s/ Stephen R. Harris
                          21                                                     _________________________________
                                                                                 STEPHEN R. HARRIS, ESQ.
                          22                                                     Attorney for Debtors
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                          27
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